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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION


 CARLOS VILLARREAL,

 Plaintiff,                                                    Case No. 7:19-cv-00075

 v.
                                                             Honorable Judge Randy Crane
 WEBCOLLEX, LLC; dba CKS FINANCIAL,

 Defendant.



              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff Carlos

Villarreal and the Defendant, Webcollex, LLC dba CKS Financial, through their respective counsel

that the above-captioned action is dismissed, with prejudice, pursuant to Federal Rule of Civil

Procedure 41. Each party shall bear its own costs and attorneys’ fees.


Dated: January 28, 2020                               Respectfully Submitted,

CARLOS VILLARREAL                                     WEBCOLLEX, LLC DBA CKS FINANCIAL

/s/ Marwan R. Daher                                   /s/ Kirstie M. Simmerman (with consent)
Marwan R. Daher                                       Kirstie M. Simmerman
Counsel for Plaintiff                                 Counsel for Defendant
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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.



                                                      /s/ Marwan R. Daher
                                                      Marwan R. Daher




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